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                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION

UNITED STATES OF AMERICA

V.                                      4:04-CR-00147-10-WRW

RACHEL JUVERA

                                              ORDER

       Pending are Defendant’s Motion for Release of Personal Property (Doc. No. 631) and

Writ of Error Audita Querela (Doc. No. 632).

       1.      Motion for Release of Personal Property

       Defendant requests that this Court “release her personal property to her daughter Lorena

Juvera.” I assume Defendant is referring to property that may have been seized, pursuant to a

search warrant, from her house in Chula Vista, California. This Motion is DENIED without

prejudice. Defendant should contact her daughter to determine what personal property has not

been returned. After acquiring this list, Defendant may refile her motion, specifically listing

what personal property has yet to be returned.

       2.      Writ of Error Audita Querela

       Defendant filed a Writ of Error Audita Querela, which she proclaims “is not a motion

pursuant to Title 28 U.S.C. § 2255.”1 Despite its title, Plaintiff’s Writ of Error Audita Querela

primarily addresses points that are appropriately brought under § 2255 (e.g., ineffective

assistance, Booker, etc.).

       The writ of audita querela was abolished from the Federal Rules of Civil Procedure, but

it may “survive only to the extent that [it] fill[s] ‘gaps’ in the current systems of post-conviction



       1
        Doc. No. 632.

                                                  1
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relief.”2 However, Courts of Appeal have repeatedly held that “audita querela is not available to

challenge a conviction or sentence when the prisoner’s contentions could otherwise be raised in

a motion pursuant to § 2255.”3 Defendant could have raised these issues under § 2255; the fact

that Defendant’s § 2255 motion was time-barred does not create a “gap” that would permit a writ

of audita querela.4

         The Eighth Circuit has held that a petitioner may not circumvent § 2255 procedural

requirements by bringing successive § 2255 actions under other names.5 When a petitioner

attempts to circumvent the § 2255 procedural requirements, a court may reclassify the

petitioner’s motion. Because all successive § 2255 motions must be certified by the appropriate

court of appeals before they are considered by the district courts -- and Petitioner failed to obtain

certification -- the motion must be dismissed for lack of jurisdiction. Accordingly, Defendant’s

Writ of Error Audita Querela (Doc. No. 632) -- which is really a successive § 2255 motion -- is

DENIED.

         IT IS SO ORDERED this 30th day of July, 2008.

                                                               /s/ Wm. R. Wilson, Jr._____________
                                                               UNITED STATES DISTRICT JUDGE




         2
          United States v. Valdez-Pacheco, 237 F.3d 1077, 1079-1080 (9th Cir. 2001).
         3
         Valdez-Pacheco, 237 F.3d at 1079-1080; see also In re Rushing-Floyd, 62 Fed. Appx. 64 (4th Cir. 2003);
United States v. Banda, 1 F.3d 354, 356 (5th Cir.1993); United States v. Kimberlin, 675 F.2d 866, 869 (7th
Cir.1982); United States v. Torres, 282 F.3d 1241 (10th Cir. 2002); United States v. Holt, 417 F.3d 1172 (11th Cir.
2005).
         4
          Carrington v. United States, 503 F.3d 888, 890 (9th Cir. 2007) (finding that the statutory limits on
successive habeas petitions does not create a “gap” in the post-conviction landscape that can be filled with common
law writs); United States v. Torres, 282 F.3d 1241, 1245-46 (10th Cir. 2002) (concluding that “a writ of audita
querela is not available to a petitioner when other remedies exist, such as a motion to vacate sentence under 28
U.S.C. § 2255” and that a petitioner cannot avoid the bar against successive § 2255 petitions “by simply styling a
petition under a different name”) (internal quotations omitted).
         5
          See United States v. Patton, 309 F.3d 1093 (8th Cir. 2002).

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